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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No: 1:19-cv-01652-STV

   GREGORY TUCKER

   Plaintiff,

   v.

   FAITH BIBLE CHAPEL INTERNATIONAL, a Colorado non-profit corporation,

   Defendant.



         UNOPPOSED MOTION FOR TWO-WEEK EXTENSION OF TIME TO
                 SUBMIT REBUTTAL EXPERT DISCLOSURES


          Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure, Defendant Faith Bible

   Chapel International, Inc. (“FBCI”) respectfully moves this Court for a two-week extension of

   time to designate all rebuttal experts and provide opposing counsel with all information specified

   in Fed. R. Civ. P. 26(a)(2).

          1.      Defendant’s deadline to designate all rebuttal experts and provide opposing counsel

   with all information specified in Fed. R. Civ. P. 26(a)(2) is December, 8, 2023.

          2.      Defendant respectfully requests an extension from December 8, 2023, to December

   22, 2023, to serve its rebuttal expert reports.

          3.      Pursuant to D.C.COLO.LCivR 7.1(a), Counsel for FBCI conferred with counsel for

   Plaintiff, Jeremy Sitcoff, who states Plaintiff is unopposed to this motion.




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          4.      This extension is requested for good cause as the parties have been and are currently

   engaged in diligent, good faith settlement discussions. Specifically, on December 8, 2023, the

   Parties participated in a Settlement Conference before the Honorable Magistrate Judge Scott T.

   Varholak. The parties are close to a settlement in this matter, and there is a strong likelihood that

   an agreement will be reached within the next two weeks.

          5.      Accordingly, Defendant requests a two-week extension of the deadline to designate

   all rebuttal experts and provide opposing counsel with all information specified in Fed. R. Civ. P.

   26(a)(2), up through and including December 22, 2023.

          6.      Should the parties be unable to reach a settlement, the trial date of June 24, 2024,

   is not anticipated to be delayed by the requested extension and no other case management deadlines

   would be impacted.

          7.      No party would be prejudiced by the relief requested herein as the requested

   extension period is brief. Good cause exists pursuant to F.R.C.P. 6(b) for the foregoing reasons.

   DATED this 8th day of December 2023.
                                                        Respectfully submitted,

                                                        HATCH RAY OLSEN CONANT LLC

                                                        By: s/ Christopher N. Loy, Jr.
                                                        Robert W. Hatch
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                               CERTIFICATE OF SERVICE

          I hereby certify that on this 8th day of December 2023, a true and correct copy of the

   foregoing UNOPPOSED MOTION FOR TWO-WEEK EXTENSION OF TIME TO

   SUBMIT REBUTTAL EXPERT DISCLOSURES was served via ECF on all parties

   appearing on record.



                                                    /s/ Christopher N. Loy, Jr.
